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    REED SMITH LLP                                                            REED SMITH LLP
    Aaron Javian, Esq.                                                        Timothy P. Law, Esq. (admitted pro hac vice)
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    E-mail: jberringer@reedsmith.com
                                                                              Special Insurance Counsel for Debtor
                                                                              and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                          :
    In re:                                                                :          Chapter 11
                                                                          :
    THE ROMAN CATHOLIC DIOCESE OF                                         :          Case No. 20-12345 (MG)
    ROCKVILLE CENTRE, NEW YORK,1                                          :
                                                                          :
                           Debtor.                                        :
                                                                          :

         THIRTY-NINTH MONTHLY STATEMENT OF REED SMITH LLP, AS SPECIAL
      INSURANCE COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION, OF FEES
     FOR PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED FOR
             THE PERIOD DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023


    Name of Applicant:                                                         Reed Smith LLP

    Authorized to Provide Professional Services                                Debtor and Debtor in Possession
    to:

    Date of Retention:                                                         Order entered on November 4, 2020,
                                                                               nunc pro tunc to October 1, 2020

    Period for which compensation and                                          December 1, 2023 to December 31, 2023
    reimbursement is sought:


    Amount of Compensation sought as actual,                                   $222,794.00
    reasonable and necessary:



1
    The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four digits of its federal tax
identification number are 7437, and its mailing address is 50 North Park Avenue P.O. Box 9023, Rockville Centre, NY 11571-9023.
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                                                                             50% of which is $111,397.002

 Amount of Expense Reimbursement sought as
 actual, reasonable and necessary:                                           $7,772.07

 Fees and Expenses of Debtor’s Consulting
 Expert (“Expert F&E”)                                                       $92,070.003

 TOTAL (50% of fees, 100% of costs, 100% of
 Expert F&E)                                                                 $211,239.07


             Reed Smith LLP (“Reed Smith”), as Special Insurance Counsel for the Debtor and Debtor-

In Possession, hereby submits this thirty-ninth monthly statement (the “Monthly Statement”) for the

period of December 1, 2023 through December 31, 2023 (the “Statement Period”) for payment of

professional services rendered and reimbursement of expenses incurred during the Statement Period

pursuant to the Court’s Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Dkt. No. 129] (the “Fee Procedures Order”). Reed

Smith requests: (a) interim allowance and payment of compensation in the amount of $111,397.00

(50% of $222,794.00) of fees on account of reasonable and necessary professional services rendered

to the Debtor by Reed Smith, (b) reimbursement of actual and necessary costs and expenses in the

amount of $7,772.07 incurred by Reed Smith during the Statement Period, and (c) reimbursement

for services rendered, and costs and expenses incurred, by Debtor’s consulting expert in the amount

of $92,070.00.

                   FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

             1.         Set forth below is a list of the positions of the Reed Smith professionals and

paraprofessionals who provided services to the Debtor during the Statement Period, their respective


 2
     Per Order Dated December 19, 2023 Regarding Holdback on Professional Fees (Dkt. No. 2743).

 3
     Submitted for payment pursuant to Order Authorizing the Retention of Experts [Dkt. No. 783], ¶ 3.




                                                                         2
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billing rates, and the aggregate hours spent by each professional and paraprofessional in providing

services on behalf of the Debtor during the Statement Period.

             Name                    Title                Department                 Office       JD Year   Rate    Hours      Amount


 Law, Timo thy                   Equity P artner            Litigatio n           P hiladelphia    1995     1,250   32.4           $ 40,500.00

 Javian, A aro n                 Fix.Sh.P artner      B usiness and Finance         New Yo rk      2004     1,215    2.6             $ 3,159.00

 Kramer, A nn                    Fix.Sh.P artner            Litigatio n             New Yo rk      1984     1,390   35.9            $ 49,901.00

 B erringer, Jo hn                  Co unsel                Litigatio n             New Yo rk      1980     1,285   62.3           $ 80,055.50

 Kim, Esther Y.                    A sso ciate              Litigatio n           P hiladelphia    2018     685     40.3           $ 27,605.50

 LauKamg, Christo pher             P aralegal         B usiness and Finance         New Yo rk        -      410     27.3             $ 11,193.00

 Schad, James                        Other                  Litigatio n            Washingto n       -      600      17.3           $ 10,380.00

                                                                                                                    2 18 .1   $ 2 2 2 ,7 9 4 .0 0



                                                                                                                    2 18 .1   $ 2 2 2 ,7 9 4 .0 0
 TOTAL:

             2.          The rates charged by Reed Smith for services rendered to the Debtor are the same

rates that it charges generally for professional services rendered to its non-bankruptcy clients as

described in the engagement letter between Reed Smith and the Debtor. A complete itemization of

tasks performed by these professionals and paraprofessionals for the Statement Period is annexed

hereto as Exhibit A.


                            EXPENSES INCURRED DURING THE STATEMENT PERIOD

             3.          Set forth below is a categorical list of expenses incurred by Reed Smith during the

Statement Period in the course of representing the Debtor.



                           Description                                    Amount
 E. Kim Lodging Expense to attend Document Review Project                       $301.89

 Duplicating/Printing/Scanning                                                   $83.80

 E. Kim Rail Travel Expense to attend Document Review Project                   $414.98

 Gravity Stack LLC December 2023 Invoice                                       $6,971.40

 TOTAL:                                                                    $ 7,772.07




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                       NOTICE AND OBJECTION PROCEDURES

       4.       Reed Smith has provided notice of this statement upon the following parties by

electronic or first class mail: (i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N.

Park Avenue, P.O. Box 9023, Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to

the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin

Rosenblum, Esq. and Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region

2, Alexander Hamilton Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn:

Greg Zipes, Esq. and Shara Cornell, Esq.); and (iv) counsel for the Official Committee of Unsecured

Creditors, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017

(Attn: Ilan D. Scharf, Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang

Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I.

Stang, Esq.).

       5.       Pursuant to the Fee Procedures Order, objections to this Monthly Statement, if any,

must be served no later than February 9, 2024 (the “Objection Deadline”) upon the following parties:

(i) the Debtor, the Roman Catholic Diocese of Rockville Centre, 50 N. Park Avenue, P.O. Box 9023,

Rockville Centre, NY 11571 (Attn: Thomas Renker); (ii) counsel to the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); (iii) the Office of the United States Trustee Region 2, Alexander Hamilton

Custom House, One Bowling Green, Suite 534, New York, NY 10004 (Attn: Greg Zipes, Esq. and

Shara Cornell, Esq.); (iv) counsel for the Official Committee of Unsecured Creditors, Pachulski

Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017 (Attn: Ilan D. Scharf,

Esq., Karen B. Dine, Esq. and Brittany M. Michael, Esq.) and Pachulski Stang Ziehl & Jones LLP,

10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067 (Attn: James I. Stang, Esq.); and (v)


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Special Insurance Counsel, Reed Smith LLP, 599 Lexington Avenue, New York, NY 10022 (Attn:

Aaron Javian, Esq. and John B. Berringer, Esq.) and Reed Smith LLP, 1717 Arch Street, Three

Logan Square, Suite 3100, Philadelphia, PA 19103 (Attn: Timothy P. Law, Esq.).

       6.      If no objections to this Monthly Statement are received by the Objection Deadline,

the Debtor will be authorized thereafter to pay Reed Smith 50% of the fees and 100% of the expenses

identified in the Monthly Statement as well as 100% of the Expert F&E.

       7.      To the extent an objection to the Monthly Statement is received on or before the

Objection Deadline, the Debtor will withhold payment of that portion of the Monthly Statement to

which the objection is directed and is authorized to pay the remainder of fees and expenses in the

percentages set forth above. To the extent such objection is not resolved, it shall be preserved and

presented to the Court at the next interim or final fee application hearing to be heard in accordance

with paragraph 2(k) of the Fee Procedures Order.




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Dated: January 25, 2024
       New York, New York
                                        REED SMITH LLP

                                         /s/ Aaron Javian
                                         Aaron Javian, Esq.
                                         John B. Berringer, Esq.
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                                         Facsimile: (212) 521-5450
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                                         E-mail: jberringer@reedsmith.com

                                         -and-

                                         REED SMITH LLP
                                         Timothy P. Law, Esq. (admitted pro hac vice)
                                         1717 Arch Street
                                         Three Logan Square, Suite 3100
                                         Philadelphia, PA 19103
                                         Telephone: (215) 851-8100
                                         Facsimile: (215) 851-1420
                                         E-mail: tlaw@reedsmith.com

                                         Special Insurance Counsel for Debtor and
                                         Debtor in Possession




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